                   Case 2:25-cr-00001-RB              Document 1          Filed 08/12/24              Page 1 of 4


AO 9l (Rev.08/09) Criminal Complaint



                                       Uurpo Srarps Drsrrucr CoURT
                                                             for the
                                                    District of New Mexico

                  United States of America                      )
                              v.                                )
                                                                )       Case   No. 24-1154Ilv4.J
               lsrael Gonzalez-Cruz, AND                        )
               Gustavo Joachin-Hernandez                        )
                                                                )
                          Defendan(s)


                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                August 7, 2024               in the county of                 Dona    Ana        in the
                      District of        New Mexico         , the defendant(s) violated:

            Code Section                                                  Offense Description



Title 8 USc S 132a(aXlXAXvXl)                Conspiracy to Transport lllegal Aliens, Resulting in the Death of Any Person
and (a)(1)(B)(iv)




         This criminal complaint is based on these facts:
See attached Affidavit




         t Continued on the attached sheet.


                                                                                           Co mp la inan t's s i gnature


                                                                                     Rvan Beck. HSI SoecialAoent
                                                                                            Printed name and litle

Sworn to before me and signed in my presence.
              -Wf{&f}^/^^-
Date: tl, olzoxt
City and state:                 Las Cruces. New Mexico                           Jerrv H. Ritter. U.S. Maqistrate Judqe
                                                                                            Printed name and title
        Case 2:25-cr-00001-RB          Document 1        Filed 08/12/24      Page 2 of 4




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

                                               VS

                                   Israel Gonzalez-Cruz, AND
                                   Gustavo Joachin-Hernandez

On August 7,2024, United States Border Patrol (USBP) agents were on duty in Santa Teresa,
New Mexico when they observed footprints near the international boundary fence that were
consistent with a group of subjects illegally entering the United States from Mexico. The agents
followed the footprints to the desert area just northeast of New Mexico State Road (NMSR) 9
near mile marker 141, where they discovered l0 subjects hiding in the brush. The subjects
admitted to being illegal aliens who had recently entered the United States from Mexico and who
were not in possession of immigration documents that would allow them to remain in the United
States legally. All 10 subjects were detained and taken to the USBP station in Santa Teresa.

Agents continued to follow footprints that went north from the location where the 10 subjects
had been apprehended. A short time later, they discovered three subjects attempting to hide in
the brush, one of whom identified himself as Gustavo Joachin-Hernandez. All three subjects
admitted to being illegal aliens who had recently entered the United States from Mexico and who
were not in possession of immigration documents that would allow them to remain in the United
States legally. The three subjects were detained and taken to the USBP station in Santa Teresa
for further investi gation.

Agents suspected that Joachin-Hernandez was a foot guide for the group of illegal aliens, as he
was further north than the majority of the group and record checks revealed that he had
previously been detained by USBP on multiple occasions after entering the United States
illegally in the Santa Teresa area.

After the apprehensions, agents were advised by some of the illegal aliens that another female
that was with the group had been left behind in an area north of NMSR 9. They further advised
that the female was in need of medical attention.

Agents responded to the area and located the female, who was deceased upon their arrival.

During a post-Miranda interview, Joachin-Hernandez admitted to agents that he was a foot guide
for the group of illegal aliens. After entering the United States, he stated that he noticed the
female was struggling to keep up with the rest of the group. Joachin-Hernandez further advised
that he stayed back and assisted the female until they reached NMSR 9, where the group was
supposed to be picked up by vehicle.

Joachin-Hernandez said he was later instructed by a co-conspirator to have half of the group
remain at NMSR 9 and have the other half continue north on foot to Strauss Road.
        Case 2:25-cr-00001-RB           Document 1        Filed 08/12/24       Page 3 of 4




Joachin-Hemandez stated that he had been a foot guide for illegal aliens in the Santa Teresa area
since November 2023 and that on this occasion, he was expecting to be paid $2,000 Mexican
pesos for each illegal alien that he assisted in being successfully smuggled to a stash house in the
United States.

According to Joachin-Hernandez, one of the other l2 subjects he had been apprehended with was
also a foot guide who had been assisting in smuggling the illegal aliens. Joachin-Hernandez
identified this subject as being Israel Gonzalez-Cruz.

During a post-Miranda interview, Gonzalez-Cruz admitted that he had illegally entered the
United States from Mexico with the group he was apprehended with. He stated that there were
no foot guides for the group and that the smugglers in Mexico had telephonically provided the
group with directions of where to go after they entered the United States. He also stated that he
did not remember seeing the female who was later located deceased.

A post-Miranda interview was conducted of Material Witness l, who had been apprehended with
the other illegal aliens in the group. Material Witness I advised that, prior to entering the United
States, Material Witness I met the deceased female while they were both being harbored at a
stash house in Ciudad Juarez, Chihuahua, Mexico.

Material Witness I stated they illegally entered the United States from Mexico on August 7,
2024 with a group of other illegal aliens and that the deceased female had been traveling with
them. Material Witness I advised that while walking through the desert, the group split up into
two smaller groups. Material Witness 1 went with one group while the deceased female went
with the other group.

Material Witness I was shown a photo array containing photographs of the other 12 subjects
apprehended during the incident. When asked to identify any subjects who had served as a foot
guide for the smuggling scheme, Material Witness I circled the photos of Gonzalez-Cruz and
Joachin-Hernandez, further clarifying that both had been guiding the group of illegal aliens
through the desert on foot.

The U.S. Attorney's Office was apprised of the aforementioned information and approved
prosecution of Gonzalez-Cruz and Joachin-Hernandez for violation of 8 U.S.C.
l32a(a)(1)(A)(vXI) and (a)(1)(BXiv) - Conspiracy to Transport Illegal Aliens, Resulting in the
Death of Any Person.

Because this affidavit is being submitted for the purpose of establishing probable cause as set
forth herein, I have not included each and every fact known to me conceming this investigation.

I make this affidavit on the basis of my personal knowledge and information furnished to me by
other law enforcement officers.
           Case 2:25-cr-00001-RB        Document 1        Filed 08/12/24       Page 4 of 4




I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.




Jerry H.   Ritter                                             Ryan Beck
                     Judge
United States Magistrate                                      Special Agent
District of New Mexico                                        Homeland Security Investigations
